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CGFD71 (12/1/15)
                                     UNITED STATES BANKRUPTCY COURT
                                            Southern District of Florida
                                                         www.flsb.uscourts.gov

In re: Ralph Levi Sanders, Jr.                                       Case Number: 22−14766−SMG
                                                                     Chapter: 13
                                                                     County of Residence or Place of Business: Fort Lauderdale
                                                                     U.S. District Court Case Number:


                                       TRANSMITTAL TO DISTRICT COURT
             Appeal pursuant to 28 U.S.C. § 158, Notice of Appeal and Statement of Election filed on 12/27/2022
             Motion for Leave to Appeal (copy of appeal attached)
             Request to Expedite Appeal attached.
             Motion to Withdraw Reference pursuant to Local Rule 5011−1(C):

                                 Contested      Uncontested
             Withdrawal of Reference granted by U.S. District Court
             Report and Recommendation (Motion to Withdraw Reference)


                                 The Party or Parties Included in the Record to District Court:

         Appellant/Movant: Ralph Levi Sanders            Attorney:                          Attorney:




         Appellee/Respondent: Wells Fargo/ Bank Of       Attorney: Gavin Stewart            Attorney:
         New York Mellon
                                                         PO Box 5703
                                                         Clearwater, FL 33758


         Title and Date of Order Appealed, if applicable: Order Granting Motion For Relief From The Automatic Stay

         Entered on Docket Date: 12/13/2022                          Docket Number: 85



             Designation in Appeal (See Attached)
             Designation in Cross Appeal (See Attached)
             Copy of Docket
             Exhibits:
             Copies of Transcript(s) of Hearing(s) on:

             Respondent's Answer and/or Movant's Reply
             Other:



Dated:12/27/22                                                       CLERK OF COURT
                                                                     By: Tanesha Graster−Thomas
                                                                     Deputy Clerk (954) 769−5700
